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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                    ***
                 7      UNITED STATES OF AMERICA,                            Case No. 2:13-CR-18 JCM (GWF)
                 8                                           Plaintiff(s),                     ORDER
                 9             v.
               10       LEON BENZER, et al.,
               11                                          Defendant(s).
               12
               13              Presently before the court is defendant Salvatore Ruvolo’s (hereinafter “defendant”)
               14       motion to continue or for severance and continuance. (Doc. # 463).
               15              The facts of the instant case are familiar to the court and the parties. Defendant is
               16       charged with conspiracy, mail fraud, and wire fraud in connection with an alleged scheme to take
               17       over homeowners association boards in the Las Vegas area. (Doc. # 1).
               18              Trial in this case was originally set for March 2013. (Doc. # 71). Since that date, the
               19       parties have repeatedly stipulated and moved to continue trial. Trial is currently set to begin on
               20       February 23, 2015. (Doc. # 346).
               21              Defendant now seeks a continuance on the grounds that his health is deteriorating.
               22       Defendant also states that his wife is bed-ridden and requires his care at all times. Defendant
               23       requests a court ordered independent medical evaluation to determine whether he should stand
               24       trial. (Doc. # 463).
               25              The court has already granted multiple continuances in this case.            Accordingly,
               26       defendants have had ample time to prepare for trial and make personal arrangements. The court
               27       does not finds grounds to grant any further continuances in this case. As a result, defendant’s
               28       motion will be denied.

James C. Mahan
U.S. District Judge
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                1            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, that defendant Salvatore
                2     Ruvolo’s motion to continue or for severance and continuance, (doc. # 463), be, and the same
                3     hereby is, DENIED.
                4            DATED February 2, 2015.
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                6                                        ___________________________________________
                                                         UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
